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(Enter above£tlvle full name
of the plaintiff or plaintiffs in
this action)
:\\mmsl vs. CaseNo: \L\CJSQ"[L{
~ ‘~ (T 0 be supplied by the Clerk of this Court
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(Enter above the full name of ALL
defendants in this action. Do not

use "et al.")
CHECK ONE ONLY:

V COMPLAINT UNDER THE CIVIL RIGHTS ACT, TITLE 42 SECTION 1983
U.S. Code (state, county, or municipal defendants)

__ CONIPLAINT UNDER THE CONSTITUTION ("BIVENS" ACTION), TITLE t
iii 28 SECTlQN¢/]»BI¢U.S. Code (federal defendan{g) vi j _ _r v WT¢," n _ _ _ n w- ¢/ mi j

OTHER (cite statute, if known)

BEFORE FILLING OUT THIS COMPLAINT, PLEASE REFER T 0 "INSTRUCTIONS FOR
FILING. " FOLLOW THESE INSTRUCTIONS CAREFULLY.

Case: 1:14-cV-OP€MBQCAUJ #(\/Z&rg\i|:jjlYIOKEE/_JEA, Page 2 of 8 Page|D #:81

I. Plail'ltiff($):
A. Name:LO\'tji¢iS mDCK

B. List all aliases: w 0 na .
C. Prisoner identification number: zola/1 0 ii O l 0 q g

l&a 01

G, _ .
D. Place of present confinement: COO~ C/O U Vl»-i' U\ D€l[)"i t O"i: a 0 rr‘eC-{~('On ja ii
E. Address: PDVBOXOSQ£‘O,Q? /C’i’\i,l_l'Tfi!Di/°og

(lf there is more than one plaintiff, then each plaintiff must list his or her name, aliases, l.D.
number, place of confinement, and current address according to the above format on a
separate sheet of paper.) `

II. Defendant(s):
(In A below, place the full name of the first defendant in the first blank, his or her official
position in`the second blank, and his or her place of employment in the third blank. Space

for two additional defe ants is provided in B and C.)
(£ FCQSD/

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Place of Employmem; l 03£4 ‘ L 14 el / e 01
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c. Defendam: Ci+§vi€ltieajo 'Poitcf,e Dep+,
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Place ofEmployment: l 03 gi L \/1 € i le °i

(If` you have more than three defendants, then all additional defendants'must be listed
according to the above format on a separate sheet of paper.)

2 . Revised 9/2007

 

Case: 1:14-@\/-03274 qu@rmdg]&ill m/tlimanvage-Igl@@grpagelp §§/,,2 ‘i/a’lO ] 17/

IlI. List ALL lawsuits you (and your co-plaintiffs, if any) have tiled in any state or federal
court in the United States:

A. tName of case a‘é docket number:`l MA €qk“'i"€i' mad l cal Tl`ea+m'¢n+ W iii "e

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O'F angth¢i!j"je-$. `Dat,iC€'i~’H= NC/VSS.'I‘I :l"uz\_o}@ Koe¢ra$ d

B. Approximate date of filing lawsuit: 331/isn "i

C. List all laintiffs (ifyou had co-plaintiffs), including any aliases: bolt 103
moe ,,\”\b a\\ases _S_

 

 

D. List all defendants: Iliinoi$ C’Htc‘,£qo Pviieé b¢' . 5'4 ervle [-€l oh

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E. Court in Which the lawsuit was filed (if federal court,.name the district; if state court,
name the county):T\/\Q/ Um+€r\/ S-la+e§ bls+rle+ COW+ F¢>r -`\~i\e Wo+i'\¢m

Di$‘i`l`\&"l' UFI\\'\nois 7 ~ .

F. ame o judg to whom case was assign d: :Y'\AAA€ KO CO¥‘QS Di`w\ihdillj

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t r-) .
G. Basic claim made: Faii“r€`i'®~i-ak& 'H'le:...a; l le 1361 d €i'€"cl@h+ ‘l'@'l'i’\e hosp,i.'i'¢lf""y+"e“+`,`
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H. Disposition of this case (for_ exlample: Wa§ the case dismissed? Was it appealed?
Is it still pending?): S+l l P€Yla lh`o’\) .

 

 

 

 

 

 

,I. Approximate date of disposition: q/<g/”Qo' L/ Or` q/§/Q'Z»O )Ll

IF YOU HAVE FILED MORE THAN ONE LAWSUIT, THEN YOU MUST DESCRIBE THE
ADDITIONAL LAWSUITS ON ANOTHER PIECE OF PAPER, USING THIS SAME
FORMAT. REGARDLESS OF HOW MANY CASES YOU HAVE PREVIOUSLY FILED,
YOU WILL NOT BE EXCUSED FROM FILLING OUT THIS SECTION COMPLETELY,
AND FAILURE TO DO SO MAY RESULT IN DISMISSAL OF YOUR CASE. CO-
PLAINTIFFS MUST ALSO LIST ALL CASES TI-IEY HAVE FILED,

3 Revised 9/2007

 

Case: tilt-monelaMcur$eQm?Jl"Bil@&"d'Q/os/l4 Page 4 of 3 PagelD #:33

IV. Statement of Claim:

State here as briefly as possible the facts of your case. Describe how each defendant is
involved, including names, dates, and places. Do not give any legal arguments or cite any
cases or statutes. If you intend to allege a number of related claims, number and set forth
each claim in a separate paragraph (Use as much space as you need. Attach extra sheets if
necessary.)

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4 Revis¢d 9/2007

 

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5 (‘, Revised 9/2007

» case; 1:14-0v-03R7M@Wd,=@@: @MP§Q@M+P&Q@ 3 of 3 PagelD #:37

V. Relief:

State briefly exactly what you want the court to do for you. Make no legal arguments Cite
no cases or statutes.

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VI. The plaintiff demands that the case be tried by a jury. E/YES m NO

CERTIFICATION

By signing this Complaint,'l certify that the facts stated in this
Complaint are true to the best of my knowledge, information and
belief. I understand that if this certification is not correct, I`may be
subject to sanctions by the Court.

signedthis plat dayof HMa ,20 l‘vl
J

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(Si ature o@laintiff or plaintiffs)
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